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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NICKOYA HOYTE, et al.

                 Plaintiffs,

v.
                                                    Civil Action No. 13-569 (CRC)
GOVERNMENT OF THE
DISTRICT OF COLUMBIA,

               Defendant.


            JOINT NOTICE OF PROPOSED CASE MANAGEMENT ORDER

          The Parties jointly submit proposed schedules for further proceedings. (ECF

No. 159.) The Parties were unable to reach an agreement and present their respective

proposals for the Court’s consideration.

                               Defendant District of Columbia

          Defendant objects to plaintiffs’ proposal to bifurcate expert discovery on

liability and damages, their proposal to defer all damages issues until there is a

resolution on liability, and their related proposal for summary judgment briefing.

Defendant proposes the following schedule:

     I.      Expert Discovery

          Plaintiffs shall designate Federal Rule 26(a)(2) experts (liability and damages)

by: December 27, 2017 (or six weeks from the entry of a scheduling order for further

proceedings).
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           Defendant shall designate experts by: January 26, 2018 (or one month after

the preceding deadline).

           Plaintiffs’ expert reports are due: February 26, 2018 (or one month after the

preceding deadline).

           Defendant’s expert reports are due: March 28, 2018 (or one month after the

preceding deadline).

           Expert discovery, including expert depositions, will conclude by: April 27, 2018

(or one month after the preceding deadline).

    II.       Summary Judgment Briefing

           Plaintiffs’ motion for summary judgment is due: May 28, 2018 (or one month

after the preceding deadline).

           Defendant’s opposition/cross-motion for summary judgment is due: July 12,

2018 (or 45 days after the preceding deadline).

           Plaintiffs’ opposition/reply is due:       August 27, 2018 (or 45 days after the

preceding deadline).

           Defendant’s reply is due: September 26, 2018 (or 30 days after the preceding

deadline).

                               Plaintiffs Nickoya Hoyte, et al.

      I.      Plaintiffs’ proposed case management order setting forth a schedule for
              further proceedings and briefing in this case.

           Plaintiffs’ propose bifurcating all liability and damages issues, and deferring

all damages issues until after all liability issues have been resolved. Furthermore,

propose bifurcating summary judgment motions into motions involving purely


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questions of law and summary judgment motions involving determinations of

whether disputed issues of fact exist. Plaintiffs propose addressing all damages

issues, if needed, after resolution of all liability issues

           1. Plaintiffs propose resolving liability issues before damages issues
              because this will facilitate settlement and save scarce judicial resources
              and the parties’ resources.

       Plaintiffs’ believe based on experience handling cases with the District and

with other defendants is that as a practical matter the best way to nudge this case

into a settlement position is to give the parties as much information as possible about

the potential scope of the District’s liability. The Court’s certification decision and the

class definitions provide a roadmap for determining liability.

       The key remaining liability issues are: (1) whether the civil forfeiture statute

was defective because it did not provide prompt post seizure hearings and it cut off

owners’ access to Rule 41(g) motions; (2) identifying which disputed issues of fact if

any remain on the issue of which if any cars were “held by the District as potential

evidence in a criminal prosecution as determined by the U.S. Attorney’s Office for the

District of Columbia;” (3) in objectively ascertainable terms what are the criteria by

which notice should be evaluated for adequacy; and (4) identifying which disputed

issues of fact if any remain on the issue of notice.

       Rulings on liability issues through summary judgment motions determining

liability on the remaining claims will give both parties practical information on the

District’s scope of liability.




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      This information will likely lead the parties to a settlement posture. For

example, Hardy settled once the Court approved a class definition that determined

liability. Similarly, the parties mediated and litigated liability in Barnes for almost

seven years and the case settled as soon as the scope of liability was determined by

summary judgment motions and trial. Barnes v. D.C., 6-315 (RCL).

      The parties already have sufficient information about damages for settlement

purposes. As a practical matter, the daily rental value of vehicles is easily obtainable

by calling a rental car agency. And the basic measure of damages for currency

seizures is the amount of currency seized. See Hardy v. D.C., 9-1062 (RWL/CRC).

Therefore, requiring expert discovery at this point will not further this goal of

providing information about the scope of the District’s potential liability, or its

maximum potential exposure, so it will not advance settlement by providing

information needed for settlement. It would only be a lengthy expensive process for

putting information the parties already have into a Rule 56 format, which is not

necessary now and may never be needed.

          2. Plaintiffs propose bifurcating summary judgment on liability issues,
             and resolving purely legal liability issues on summary judgment before
             resolving liability issues involving an analysis of whether material
             controverted issues of fact remain.

      Because some of the liability issues are purely legal issues, for example issues

1 and 3, and some of the issues involve examination of a factual record, for example

issues 2 and 4, plaintiffs propose addressing issues 1 and 3 in summary judgment

first in stage one. Resolving issues 1 and 3 in summary judgment by themselves will

save judicial resources and time and money for the parties. This will either dispose

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of or narrow the fact intensive issues in issues 2 and 4 which can be addressed in a

stage two liability phase.

      For example, the Court can decide as a matter of law whether the statute is

defective because it failed to provide interim hearings on the right to possession. See

e.g., Washington v. Marion Cnty. Prosecutor, 2017 U.S. Dist. LEXIS 132235, at *5,

19-20, 27-28, 47-48 (S.D. Ind. Aug. 18, 2017)(evaluating on summary judgment

whether a statutory civil forfeiture scheme is unconstitutional because it allows the

government to deprive individuals of their vehicles for potentially lengthy periods of

time without any ability to contest the deprivation is a purely legal question);

Krimstock v. Kelly, 306 F.3d 40, 47-48 (2d Cir. 2002)(reversing dismissal under Rule

12(b)(6) of complaint holding that forfeiture statute violated due process because it

did not provide interim hearings on likelihood of success and possession); Brown v.

District of Columbia, 115 F. Supp. 3d 56, 67 (D.D.C. 2015) (plaintiffs’ complaint states

a claim under due process that forfeiture statute was defective because it did not

provide interim hearings for owners to test the probable cause for a seizure and to

propose alternatives to the government's retention of the vehicle pending conclusion

of forfeiture proceedings).

      A second key issue that can be decided on summary judgment purely as a

question of law is whether by enacting a civil forfeiture statute that cut off owners’

pre-existing rights under Rule 41(g) to challenge seizure and detention of their cars

in connection with criminal cases (whether the cars were seized because they might

contain evidence that could be detected by searching it and processing it or the cars



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themselves were seized as evidence) the District thereby forfeited the defense that

cars classified “as potential evidence in a criminal prosecution as determined by the

U.S. Attorney’s Office for the District of Columbia” as well as classified as “hold for

forfeiture at the direction of the District” should be excluded from the class definition.

      Plaintiffs briefed this issue in their Motion [70] for Class Action Treatment and

their Reply [85]. See e.g., Reply [85], p. 6 et seq. See District of Columbia v. Dunmore,

749 A.2d 740, 743 (D.C. 2000). But, the Court has not ruled on this isssue in a merits

motion.

      Before the D.C. Council enacted the civil forfeiture regime the default position

was that if the MPD seized a vehicle for use in a criminal case (with or without the

involvement of the USAO or the OAG) the owner could file a motion for return of the

vehicle pursuant to Rule Superior Court Rule of Crim. Proc. 41(g). Owners had this

right to an interim hearing regardless of whether the USAO was involved. This Court

ruled in Jenkins that although Rule 41(g) motions were not a fully adequate

substitute for the requested post-seizure hearings in the forfeiture context, “Courts

in this district have generally found Rule 41(g) to be a constitutionally adequate

means of obtaining the return of seized property in criminal cases. Jenkins v. District

of Columbia, 2017 U.S. Dist. LEXIS 119157, *11 (D.D.C. 2017). This is still the default

position for vehicles seized in connection with criminal cases if the District does not

also seize the vehicle for civil forfeiture or a forfeiture determination.

      But, the D.C. Council completely cut off this pre-existing right of access to Rule

41(g) for owners whose cars are classified as “E/H” (“Evidence/ Hold for civil



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forfeiture”) by enacting the civil forfeiture regime including D.C. Code § 48-

905.02(d)(2). The D.C. Council elected to put vehicles seized for forfeiture or forfeiture

determinations outside the reach of any interim hearings including Rule 41(g)

motions and the highest “state” court in the District has expressly held that the

Superior Court has no ancillary jurisdiction to release property under Rule 41(g) once

the District initiates forfeiture proceedings against such property. Dunmore, 749

A.2d at 743.

              Plaintiffs’ issue here is not whether the interim hearings that the Court held

in Brown the statute should have provided for owners to “to test the probable cause

for a seizure and to propose alternatives to the government's retention of the vehicle

pending the conclusion of forfeiture proceedings” should also have accommodated

challenges to so called “evidentiary” holds at the direction of the USAO.1 Plaintiffs

are not saying here that the civil forfeiture statute should have created Rule 41(g)

hearings for “evidentiary holds” – they already existed. And the remedy – Rule 41(g)

– is adequate. Plaintiffs say that the D.C. Council should not have blocked plaintiffs’

access to those Rule 41(g) hearings. And plaintiffs further say that since the District

did block the Rule 41(g) hearings, the District cannot argue that the USAO is the

cause of the detention.




                                                            
         The issue here is whether the District can argue that it is not responsible for
              1

delay caused by detention that it alleges have two reasons – (1) forfeiture holds and
(2) so called “evidence holds at the direction of the USAO” when the District in this
context is the cause of both reasons.
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            Other liability issues that could be decided as a matter of law on summary

judgment are what specific types of notice satisfies due process, for example, must

notice be provided before administrative forfeiture; is notice sent to an address

provided by the owner satisfactory if the claimant moved after providing the address

even if the District did not send follow up notice, etc.

               3. Plaintiffs propose deferring damages issues until after liability issues
                  because resolving liability issues will likely obviate the need for
                  damages issues.

            Plaintiffs propose deferring damages issues until after liability issues because

resolving liability issues will likely obviate the need for damages issues.

      II.      Plaintiffs’ proposed schedule going forward for liability expert issues and
               liability summary judgment motions.

             Below is the Plaintiffs’ proposed schedule going forward for liability expert

issues and liability summary judgment motions.

               1. Expert witnesses for liability.

            Plaintiffs propose this schedule for Liability Expert Witnesses whether or not

the Court bifurcates briefing on liability summary judgment motions.

                                  Expert Witness for Liability

    Event                          Time from entry of            Date

                                   previous event

    Expert Witness                 30 days from entry of

    Designations                   Scheduling Order




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    Counter Designation of    60 days from designations

    Expert Witness(es)

    Expert Reports            60 days from designation

                              of expert if no counter

                              expert designated, or 60

                              days from counter expert

                              if counter expert

                              designated

    Expert Discovery due by   30 days from Expert

                              Reports


            2. Summary judgment motions on purely legal questions.

         Plaintiffs propose this schedule for summary judgment motions on purely

legal questions only if the Court bifurcates briefing on summary judgment motions

on purely legal questions.


                 Summary Judgment Motions on purely Legal Questions

    Legal question -          Either:

    Dispositive Motions due
                              120 days from entry of
    by
                              Scheduling Order; or


                              If no party designates a

                              liability expert, 60 days



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                                from entry of Scheduling

                                Order

    Opposition to Legal         45 days to file an

    question - Dispositive      opposition

    Motions due by

    Replies to Legal question   30 days to file a reply

    - Dispositive Motions due

    by


            3. Schedule on summary judgment motions requiring determination of
               whether disputed issues of fact exist to be set after ruling on summary
               judgment motions on purely legal questions.

         Plaintiffs propose this schedule for summary judgment motions only if the

Court bifurcates briefing on summary judgment motions on purely legal questions.

            4. Summary Judgment Motions if Court does not bifurcate summary
               judgment motions on purely legal questions.

         Plaintiffs propose this schedule for summary judgment motions on purely legal

questions only if the Court bifurcates briefing on summary judgment motions on

purely legal questions.




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                     Combine Liability Summary Judgment Motions

    Dispositive Motions due     120 days from entry of

    by                          Scheduling Order

                                [whether or not any party

                                designates a liability

                                expert]

    Opposition to Legal         60 days to file an

    question - Dispositive      opposition

    Motions due by

    Replies to Legal question   45 days to file a reply

    - Dispositive Motions due

    by




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Dated: November 15, 2017.         Respectfully submitted,

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